     Case 2:07-md-01873-KDE-MBN Document 14482 Filed 06/23/10 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

MLU SERVICES, INC.                                 )       Civil Action No. 10-CV-1531 N/5
                                                   )
                             Plaintiff             )
v.                                                 )       Judge Kurt D. Engelhardt
                                                   )
LANDMARK AMERICAN                                  )       Magistrate Judge Alma Chasez
INSURANCE COMPANY                                  )
                                                   )
                             Defendant             )
                                                   )
This Case Relates To:
In re: FEMA Trailer Formaldehyde Products
       Liability Litigation – MDL No. 1873


                      MOTION FOR DISMISSAL WITHOUT PREJUDICE


       COMES NOW plaintiff MLU Services, Inc. (“MLU”), by and through its undersigned

counsel, which upon representing to this court that it has agreed to dismiss this matter against

defendant, Landmark American Insurance Company, without prejudice, hereby respectfully requests

that this Court dismiss, without prejudice, said defendant, Landmark American Insurance Company.



                                                   Respectfully submitted,

                                                   BARRY & PICCIONE, LLC

                                                   s/Stephen R. Barry
                                                   STEPHEN R. BARRY (#21465)
                                                   A Professional Law Corporation
                                                   KATHLEEN C. MARKSBURY (#1902)
                                                   612 Gravier Street
                                                   New Orleans, Louisiana 70130
                                                   Telephone: (504) 525-5553
                                                   Facsimile: (504) 525-1909
                                                   Attorneys for MLU Services, Inc.




                                               1
Case 2:07-md-01873-KDE-MBN Document 14482 Filed 06/23/10 Page 2 of 2




                              CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing pleading has this date been electronically
  filed using the CM/EFC service which will notify counsel of record via electronic mail of
  this filing.

                  New Orleans, Louisiana, this 23nd day of June 2010

                                                  /s/Stephen R. Barry




                                             2
